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IN THE UNITED sTATEs DISTRICT CoURT HLED BY~~.»~M D.C.
FoR THE WESTERN DISTRICT oF TENNESSEE 05 m _9 PH 2_
EASTERN DIVISION ' 2 5

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@ U.§.l B%‘ltl~.
BERNADETTE CUNNINGHAM and ) '-‘ ‘J:“' TN.-JACKSGN
ROSALIND JOHNSON, Individually and )
as Administratrix of the Estate of

NEKEYA MAGSBY, Deceased,
Plaintiffs,

VS. No. 04-1 l44-T/An

MICHELIN NORTH AMERICA, INC.,

and MICHELIN AMERICAN

)
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)
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)
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)
§
RESEARCH & DEVELOPMENT coRP., )
)
)

Defendants.

 

ORDER DENYING MOTION FOR TRIAL CONTINUANCE

 

On May 6, 2005, the plaintiffs, Bernadette Cunningham and Rosalind Johnson,
individually and as administratrix of the Estate of Nekeya Magsby, flled a motion for a
continuance of the trial in this case, which is currently scheduled for September 12, 2005.

Plaintiffs have failed to compiy with Local Rule 7.2(a)(l )(A)-(B). Paragraph (A) of
that rule requires motions to be accompanied by a proposed order. Paragraph (B) requires
the motion to be accompanied by a certificate of consultation

affirming that, after consultation between the parties to the controversy, they
are unable to reach an accord as to all issues or that all other parties are in
agreement With the action requested by the motion. Failure to file an
accompanying certificate of consultation may be deemed good grounds for
denying the motion.

This document entered on the docks

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with Rule 58 and/or 79 (a) FHCP on p ance

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Plaintif`f`s’ motion for a continuance is DENIED without prejudice to refiling in
compliance with the Local Rules.

I'i` IS SO ORDERED.

nw

JAME .TdbD
UNITE sTATEs DISTRICT JUDGE

‘i/Vl))»\

DATE V

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 34 in
case 1:04-CV-01144 was distributed by f`aX, mail, or direct printing on
May 10, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

